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                                TAB 2
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                                                                                  1


    XO6 UWY CVlB-6046436-S                  SUPERIOR COURT

    ERICA LAFFERTY, ET AL                   JUDICIAL DISTRICT OF WATERBURY

    V                                       AT WATERBURY, CONNECTICUT

   ALEX EMRIC JONES , ET AL                 NOVEMBER 15 , 2021



   XO6 UWY CVlB-6046437 - S                SUPERIOR COURT

   WILLIAM SHERLACH , ET AL                JUDICIAL DIS TRIC T OF WATERBURY

   V                                       AT WATERBURY, CONNECTICUT

   ALEX EMRIC JONES,       ET AL           NOVEMBER 15, 2021



   XO6 UWY CVlB-6046438-S                  SUPERIOR COURT

   WILLIAM SHERLACH, ET AL                 JUDICIAL DISTR IC T OF WATERBURY

   V                                       AT WATERBURY, CONNECTICUT

   ALEX EMRIC JONES,       ET AL           NOVEMBER 15, 2021


                                COURT'S RULING

   BEFORE :


                 THE HONORABLE BARBARA N. BELLIS, JUDG E



   APPEARANCES:


        Representing the Plaintiffs:

           ATTORNEY CHRISTOPHER MATTEI
           ATTORNEY ALINOR STERLING
           ATTORNEY MATTHEW BLUMENTHAL
           Koskoff Koskoff & Bieder
           350 Fairfield Avenue
           Bridgeport, Connecticut 06604
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                                                                                  2


      Representing the Defendants :

          ATTORNEY JAY MARSHALL WOLMAN
          Randazza Legal Group
          100 Pearl Street
          Hartford, Connecticut 06103

          ATTORNEY CAMERON L. ATKINSON
          Pattis & Smith
          383 Orange Street
          New Haven , Connecticut 0651 1

          ATTORNEY MARIO CERAME
          Brignole Bush & Lewis
          73 Wadsworth Street
          Hartford, Connecticut            06 1 06


                                               Recorded and Transcr i bed By:
                                               Patricia Sabo l
                                               Court Monitor
                                               400 Grand Street
                                               Waterbury, Connecticut 06702
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                                                                                          3


 1                   THE COURT:       All right .     So I will order a copy of

 2          the transcript of the following ruling,                  and I will

 3          sign it and I wi l l place it in the court file as my

 4          decision for the purposes of any appeal.

 5                   So I ' l l first address the Clin t on deposition

 6          issue and the conduct of July 1, 2021 .                  In the July

 7          19,     2021 court f i ling by the defendants Inf owars, LLC,

 8          Free Speech Systems, LLC ,             Infowars Health,        LLC and

 9          Prison Planet,          LLC, they described how in the mot ion

10          to depose Hillary Clinton, testimony designated by the

11          plaintiffs as highly confidentia l was filed in the

12          Clinton deposition mo t ion.             They explained that 't his

13          was done because in their opinion, the plaintiffs did

14          no t    have a good- fait h basis to designate the

15          deposition as highly confidential before the

16          deposition had commenced , desp ite the fact that the

17          Jones defendants had previously done so themselves.

18          And it is not lost on t he Court that the highly

19          confidential information was improperly filed in the

20          middle of the first deposition of a pla i ntiff.

21                   The July 19, 2021 fi l ing is in sharp contrast to

22          the Jones defendants' position at the October 20,                        2021

23          sanctions' hearing where the Court addressed what,                       if

24          any,     sanctions should enter.            At   the October 20

25          hearing,         the Jones defendants claim t hey could publish

26          confidentia l        informat i on as long as they did not

27          reveal the name of the witness.                  That is,   they argued
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                                                                                         4


 1              unconvincingly that they didn 1 t understand the very

 2              protective order that they themselves drafted and

 3              asked the Court to approve as a Court order, which the

 4              Court did.

 5                     The position of the Jones defendants at the

 6              October 20, 2021 sanctions hearing did nothing but

 7              reinforce the Court's August 5th, 2021 order and

 8              findings that the cavalier actions on July 1st, 2021

 9              constituted willful misconduct and violated the

10              Court's clear and unambiguous protective order.

11                     The history of the attorneys who have appeared

12              for the defendants, Alex Jones, Infowars, LLC,                   Free

13              Speech Systems, LLC,            Infowars Health, LLC and Prison

14              Planet TV, LLC is a convoluted one, even putting aside

15              the motions to withdraw appearance, the claims of

16              conflict of interest and the motions for stay advanced

17              by these five defendants.

18                     As the record reflects, on June 28, 2018,

19              Attorney Wolman appeared for all five of the Jones

20              defendants.       Eight months later, on March 1st, 2019,

21              Attorney Wolman is out of the case and Pattis & Smith

22              filed an in-lieu-of appearance for all five

23              defendants.       On February 24, 2020, Attorney Latonica

24              also appeared for all five defendants.                 Five months

25              later on July 7, 2020, Attorney Latonica and Pattis &

26              Smi t h is now out of the case and Attorney Wolman is

27              back in the case for all five defendants.                    Then on
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                                                                                     5


 1           June 28,      2020,   Pa ttis and Smith is back in the case,

 2          but now only appears for the four LLC defendants.

 3                 But what is perhaps more significant is the

 4          transparent attempt to cloud the issues by Pattis &

 5          Smith,    f or examp l e, by listing the names of only three

 6          of the four clients they represent when filing the

 7          motion to take the deposition of Hillary Clinton and

 8          then listing all four clients in the July 1 9,                  202 1

 9          fi ing relating to the issue.               And by Attorney Wolman

10          who then argued in his October 20,               2021 fi l e that

11           Infowars, LLC had no involvement in th e motion for

12          commission because their lawyer d i d not list their

13          name on the motion .             It is simply improper under our

14          rules of practice for an attorney to do so.

15                 Turning to the issue of the subsidiary ledgers.

16          The five Jones defendants on November 6,                 2020 filed

17          with t he Court their discovery objections relating to

18          the deposition of Free Speech Systems' accoun t ing

19          manager and current e mp lo yee, Melinda Flores.                 In

20          response to the plaintiff's request for subs i diary

21          ledgers,       the Jones defendants objected on the basis

22          that the production of the subsidiary ledgers was

23          oppress ive , unduly burdensome, disproportionate,

24          harassing and tha          i t wil l   require digging through

25          eight years of accounting.              No objec ti on was raised as

26          to the term "subsidiary ledger'',              although par ti es

27          fr equently will object to a discovery request if they
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                                                                                       6


 1           consider it vague or confusing .

 2                 On April 29, 2021, the Court overruled the

 3           objection .     On May 6, 2021 , the Court ordered the

 4           deposition of Flores to take place on June 4,                2021 and

 5           ordered the documents to be produced by the close of

 6           business on May 1 4, 2021 stat i ng that failure to

 7           comply may result in sanctions.

 8                 On May 14 , 2021 , the five Jones defendants

 9           responded to the document request and Court order and

10           stating that the subsidiary ledgers were incorporated

11           into the trial balances and had been produced.

12                 At her June 4 , 2021 deposition ,          Flores , the

13          accounting manager , testified that subsidiary ledgers

14          or detail was easily accessible and avai able to her .

15           She testified that it would show the sources of

16          advertising income and she testified repeatedly that

17           Free Speech Systems maintained subsidiary ledger

18          information.        Flores did not believe she was obligated

19          to produce the subsidiary ledgers , and it is unclear

20          as to whether they have been produced .

21                 It was impossible to reconcile the exper t h i red

22          by Free Speech Systems with the November 6, 2020

23          objections filed with the Court and with Flores '

24          deposit i on te stimony.        While the Jones defendants in

25          their May 5th,       2021 motion state that Flores would be

26          the best employee to i dentify and produce the

27          requested documents and further state that Flores
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                                                                                              7

 1              would be compel l ed by Free Speech Systems to produce

 2              the requested documents at the deposit i on,                 the

 3              defendants hi r ed expert , Mr. Roe, said that Flores was

 4              wrong and that Free Speech Systems doesn't use or have

 5              subsidiary ledgers.

 6                     The Court , in its August 6, 202 1 order,               found

 7              that the subsidiary ledger information was easily

 8              access i ble by Flores by cl i cking on each general

 9              account,       that, despite the Court orders and although

10              the informa t ion exists and is maintained by Free

11              Speech Systems and was required by the Court order to

12              be produced, it had not been produced .               And,     again,    it

13              is still unclear as to what documen t s have been

14              produced .

15                     The Cour t      rejected Roe's statements in his

16              affidavit as not credible in light of t he

17              circumstances.          The Court found that t h e plaintiffs

18              were prejudiced in their ability t o prosecute t heir

19              claims and conduct further meaningful deposit i ons and

20              that sanc t ions would be addressed at a future hearing.

21                     At the October, 2021 sanctions hearing,                 the Court

22              addressed - whether sanctions should enter .                 The Court

23              finds that sanctions are,           in fac t , appropriate in

24              light of the defendant's failure to f ul ly and fairly

25              comply with the p l aintiff's d i scovery reques t and the

26              Cour t 's orders of Apr i l       29 , 2021, May 6,     202 1 and

27              August 6,      2021.
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                                                                                        8


 1                 Turning to the trial balances.              In addition to

 2          objecting to the deposition of Flores, the Jones

 3          defendants, as I mentioned, filed discovery objections

 4           to the request for production directed to Flores .                   The

 5          Court ruled in favor of the defendants on one

 6          production request and ruled in favor of the

 7          plaintiffs with respect to others.

 8                 In addition to the subsidiary ledgers, the Cou r t

 9          ordered production of the trial balances.                    Flores had

10          run trial balances in the past unrelated to this

11          action.        Flores testified at her June 4, 2021

12          deposition that she personally accessed Quick Books

13          and selected the option to generate trial balances for

14          2012 to 2019.         She testified that she ran the reports

15          and printed them out and believed that the reports

16          were produced.         Her testimony the reports that she ran

17          were produced was left uncorrected by counsel at the

18          deposition.

19                 The reports were not produced by the

20          Court-ordered deadline of May 14 , 2021 .               They were not

21          produced at her June 4, 2021 deposition , and they have

22          not been produced to date, despite their obligation to

23          do so.

24                 While the Jones defendant s, in their May 5, 2021

25          Court filing,       emphasized that Flores would be the best

26          emp oyee to identify and produce the requested

27          documents which would include the trial balances and
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                                                                                    9


 1           that F l ores would be compelled by Free Speech Systems

 2           to produce the documents at her deposition, not only

 3           were the reports not produced , but the Jones

 4           defendants in their October 7, 2021 filing now claim

 5           that Flores , a mere bookkeeper, provided flawed

 6           information to the defendants that the defendants ,

 7           through Roe , had to correct .          And the Court rejects

 8           that position .

 9                  The Jones defendants argue that Roe combined some

10           accounts that were not used consistently and

11           consolidated some general accounts because various

12           transactions all involved the same account and those

13           records created by the Jones defendants' outside

14           accountant were the records that were produced .                 But

15           these records that removed accounts and consolidated

16           accounts altered the information in the reports that

17           their own accounting manager had produced, and they

18           contain trial balances that did not balance.                 These

19           sanitized,     inaccurate records created by Roe were

20           simply not responsive to the plaintiff's request or to

21           the Court ' s order .

22                  Turning t o the analytics .         The date for the

23           parties to exchange written discovery has passed after

24           numerous extensions by the Court.              On May 14, 2021,

25           the Court ordered that the defendants were obligated

26           to fully and fairly comply with the plaintiff's

27           earlier request for disclosure and production.
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                                                                                   10


 1                  On June 1, 2021,        the defendants fil ed an

 2           emergency mot ion for protective order apparently

 3           seeking protection from the Court's own order where

 4           the defendants again at t empted to argue the scope of

 5           appropr i ate discovery .

 6                  The Court, on June 2,         2021, dec li ned to do so and

 7           extended the deadline for final compliance to June 28,

 8           2021 ordering the defendants to begin to comply

 9           immediately on a rolling basis.              In its June 2nd

10           order,   the Court warned that failure to comply would

11           result in sanctions including default.

12                  Wi th respect to analytics,         including Google

13           Analytics and social media Analytics, the defendants

14           on May 7,     2019 represented that they had provided all

15           the a na lytics that they had .          They stated with respect

16           to Google Analytics that they had access to Google

17           Ana l ytics reports, bu t did no t        regularly use them.        As

18           the Court previously set forth in its September 30,

19           2021 order, the defendants also claim that on June 17,

20           2019, they informally emailed zip files containing

21           Google An alytics reports to the plain ti ffs,             but not

22           the codefendants, an email the plaintiffs state they

23           did not receive and that the Court found would not

24           have been in compliance with our rules of practice .

25                  On June 28, 2021, the Jones defendants fi led a

26           notice o f comp l iance stating that complete final

27           supplemental compliance was made by the defendants,
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                                                                                      11


 1           Alex Jones and Free Speech Systems, LLC and that

 2           Infowars,     LLC,   Infowars Health, LLC and Prison Planet,

 3           LLC, quote:       Had previously produced all documents

 4           required to be produced, end quote,              representing tha t

 5           with respect to the Google Analytics documents,                   Free

 6           Speech Systems, LLC could not export the dataset and

 7           that the only way they could comply was through the

 8           sandbox approach.

 9                  Then on August 8,         2021,   the Jones defendants for

10           the first time formally produced Excel spreadsheets

11           l i mited to Google Analyt ics apparently for Infowa rs

12           dot com and not for any of the other websites such as

13           Pris on Planet TV or Infowars Health .              Importa ntly, the

14           Jones defendants to date have st i l l not produced any

15           analytics data from any other platform such as Alexa,

16           Comcast or Criteo .

17                 The Jon es defendants production of the social

18           media analytics has similarly been insubstantial and

19           similarly has fal len far shor t           both procedurally and

20           substantively, despite prior representations by the

21           Jones defendants that the y had produced the social

22           media analytics and despite the May 25,               2021

23           deposition testimony of Louis Certucci,               Free Speech

24           Systems social media manager for nearly a decade,                   that

25           there were no such documents.

26                 At   the June 28,        2021 deposition of Free Speech

27           Systems corporate designee Zimmerman, Mr . Zimmerman
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                                                                                  12

 1           testified that,       in fact, he had obtained some

 2           responsive documents from Certucci which were then

 3           loaded into a deposition chat room by counsel for the

 4           Jones defendants.         It appears that these documents

 5           were minimal summaries or reports for Facebook and

 6           Twitter , but not for other platforms used by the

 7           defendants such as You Tube.

 8                 Any claim of the defendants that the failure to

 9           produce t hese documents was inadvertent falls flat as

10           there was no evidence submi t ted to the Court that the

11           defendants had a reasonable procedure in place to

12           compile responsive materia l s within their power,

13           possession or knowledge.

14                 Mon t hs later , on October 8, 2021, the Jones

15           defendants formally produced six documents for the

16           spring of 2017 for Facebook containing similar

17           information t o the Zimmerman chat room documents, but

18           not included in the chat room documents and screen

19           shots of posts by free Speech Systems to an

20           unidentified social media account with no ana l ytics.

21                 The defendan t s represented that they had produced

22           all the analytics when they had not done so.                 They

23           represented in court filings that they did not rely on

24           social media analytics and this, too,              is false.

25                  I'm going to need to take a thirty second water

26           break, please.

27                  (A short break in the proceedings occurred.)
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                                                                                      13


 1                  This response was false.          The plaintiffs in

 2           support of their motion for sanctions on the analytics

 3           issue attached as exhibit D, an email dated December

 4           15, 2014 between former Free Speech Systems business

 5           manager Timothy Fruge and current Free Speech Systems

 6           employee Buckley Hamman.           Fruge attaches annotated

 7           charts of detailed analytics concerning Jones'                2014

 8           social media audience including gender demographics

 9           engagement and social media sites tha               refer people to

10           Infowars dot com.        As    pointed out by the plaintiffs,

11           Fruge's annotations are even more telling than the

12           charts themselves and totally contradict the Jones

13           defendants misrepresentations to the Court that ,

14           quote;     There is no evidence to suggest that Mr. Jones

15           or Free Speech Systems ever used these analyt i cs to

16           drive content, end quote.

17                 The next image on the document shows key

18           indicators on Tw itter.          Those are engagement and

19           influence .     Again,   this is reading from Fruge's notes.

20           Again,   the next image shows the key indicators on

21           Twitter.      Those are engagement and influence.             Notice

22           our influence is great and our engagement is low.                    I

23           bring th is up         again these are Fruge's notes

24           because we should try and raise our engagement with

25           our audience.       Engagement is how well we are

26           communicating and interacting with our audience.                  The

27           higher our engagement, the more valuable our audience
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                                                                                     14


 1           will become to our business.            And that is the end of

 2           Fruge 's notes.

 3                  I would note that regardless of this reliance on

 4           social media analytics,          the concept is simple.          The

 5           defendants were ordered to produce the documents and

 6           our law requires them to produce information within

 7           their knowledge , possession or power.              Discovery is

 8           not supposed to be a guessing game.              What the Jones

 9           defenda nts have produced by way of analytics is not

10           even remotely full and fair compliance required under

11           our rules.

12                  The Court finds that the Jones defendants have

13           withheld analytics and information that is critical to

14           the plaintiff's ability to conduct meaningful

15           discovery and to prosecute their claims.                   This callous

16           disregard of their obligations to fully and fair ly

17           comply with discovery and Court orders on its own

18           merits a default against the Jones defendants .

19                 Neither the Court nor the parties can expect

20           perfection when it comes to t he discovery process .

21           What is required,       however,    and what all parties are

22           entitled to is fundamental fairness t hat the other

23           side produces that information which is within their

24           knowledge, possession and power and that the other

25           side meet its continuing duty to disclose additional

26           or new material and amend prior compliance when it is

27           incorrect.
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                                                                                         15


 1                  Here the Jones defendants were not just careless.

 2           Their failure to produce critical documents,                  their

 3           disregard for the discovery process and procedure and

 4           for Court orders is a patter n of obstructive conduct

 5           that interferes with the ability of the plaintiffs to

 6           conduct meaningful discovery and prevents the

 7           plaintiffs from properly prosecut i ng the i r c l aims .

 8                  The Court held off on scheduling th i s sanctions

 9           hearing in the hopes that many of these problems would

10           be corrected and that the Jones defendants would

11           ultimate l y comply with their discovery ob l igations and

12           numerous Court orders, and they have not.

13                  I n addressing the sanctions that should enter

14           here, the Court is not punishing the defendants.                      The

15           Cou r t also recognizes that a sanct i on of default is

16           one of last resort .           This Court previously sanctioned

17           the defendants not by entering a default, but by a

18           lesser sanction , t he preclusion of the defendant's

19           spec i al motions to dismiss.           At   th i s point en t er i ng

20           other lesser sanc t ions such as monetary sanctions, the

21           prec l usion of evidence or the establishment of facts

22           is inadequate given the scope and extent of the

23           discovery material that the defendants have failed to

24           produce .

25                  As pointed out by the plaintiffs,              they are

26           attempting to conduct discovery on what the defendants

27           publish and the defendants'            r evenue.    And the fai l ure
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                                                                                       16


 1           of the defendants to produce the ana l ytics impacts the

 2           abil it y of the p l aintiffs to address what is published

 3           and the defendants failure to produce the financial

 4           records such as sub-ledgers and trial balances affects

 5           the ability of the p l aintiffs to address the

 6           defendants ' r evenue .        The pr e judice suffe red by the

 7           plaintiffs , who had the right to conduct appropriate ,

 8           meaningful discovery so they could prosecute their

 9           claims again, was caused by the Jones defendants

10           willful noncompliance, that is,            the Jones defendants

11           f ailure to produce critical material information that

12           the plaintiff n eeded to prove their c l aims .

13                  For these reasons, the Court is entering a

14           default against the defe n dan t s Alex Jones,              I nfowars ,

15           LLC,   Free Speech Systems, LLC ,         Infowars Hea l th , LLC

16           and Pr i son Planet TV, LLC .         The case wi ll proceed as a

17           hearing in damages as to the defendants .                  The Court

18           notes Mr.     Jones is sole controlling authority of all

19           the defendants,       and tha t   the defendants filed motions

20           and signed off on the ir di sc o very issues joint l y.                And

21           all the defendants have failed to fu l ly and fairly

22           comply with their discovery obligations.

23                  As I said,     I will order a copy of t he transcript .

24           I wil l   sign it and I wil l      file                Court as the

25           Court ' s order.

26

27                                                       Bel l is, J.
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                                                                                    17


 1   XO6 UWY CV l S-6046436-S                 SUPERIOR COURT .

 2   ERICA LAF FERTY, ET AL                   JUDICIAL DI STRICT OF WATERBURY

 3   V                                       AT WATERBURY, CONNECT I CUT

 4   ALEX EMRIC JONES,      ET AL             NOVEMBER 15, 2021

 5

 6   XO6 UWY CVlS - 6046437-S               SUPERIOR COURT

 7   WILLIAM SHERLACH,      ET AL           JUD IC IAL DISTRICT OF WATERBURY

 8   V                                      AT WATERBURY, CONNECTICUT

 9   ALEX EMRIC JONES,      ET AL           NOVEMBER 15, 2021

10

11   XO6 UWY CVlS-6046438-S                 SUPERIOR COURT

12   WILLIAM SHERLACH, ET AL                JUDICIAL DIS TRICT OF WATERBURY

13   V                                      AT WATERBURY, CONNECTICUT

14   ALEX EMRIC JONES,      ET AL           NOVEMBER 15, 202 1

15

16                          C E R T I F I C A T I O N

17        I hereby certify the foregoing pages are a true and

18   correct t ranscription of the audio recording of the

19   above-referenced case, heard in the Superior Court,                 Judicial

20   Distr i ct of Waterbury,       at Waterbury, Connecticut, before the

21   Honorable Barbara N.       Bellis, Ju dge,     on the 15th day of

22   November,   2021 .

23        Dated this 15th day of November , 2021,             in Waterbury,

24   Connecticut.

25                                              ,,~U~ ~       L
                                                                           -
26                                                   Patricia Sabol

27                                                   Court Monitor
